Case 3:20-cv-00278-DJH-RSE Document 87 Filed 06/16/22 Page 1 of 10 PageID #: 1082




                            UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF KENTUCKY
                                 LOUISVILLE DIVISION
                         CIVIL ACTION NO. 3:20-CV-00278-DJH-RSE

  MARYVILLE BAPTIST CHURCH, INC., et al.                                             PLAINTIFFS


  VS.


  ANDY BESHEAR                                                                      DEFENDANT

                             REPORT AND RECOMMENDATION

         Plaintiffs Maryville Baptist Church, Inc. and Dr. Jack Roberts (“Maryville Baptist”) have

  submitted a motion for attorney’s fees and nontaxable expenses (DN 74) and a bill of costs (DN

  75). Defendant Governor Andy Beshear (“Governor Beshear”) responded in opposition (DN 80),

  and Maryville Baptist replied (DN 85). The District Judge referred this matter to the undersigned

  United States Magistrate Judge for a report and recommendation pursuant to 28 U.S.C. §

  636(b)(3). (DN 86).

                                         I. Findings of Fact

         Maryville Baptist brought this 42 U.S.C. § 1983 Civil Rights action against Kentucky

  Governor Andy Beshear on April 17, 2020. (DN 1). The month prior, Governor Beshear issued an

  executive order prohibiting “[a]ll mass gatherings,” including but not limited to “faith-based”

  gatherings, in response to the COVID-19 pandemic. (DN 1-5, at PageID # 66). Maryville Baptist

  held a drive-in Easter service on April 12, 2020, and Kentucky State Police cited several

  congregants for violating the mass gathering order. Maryville Baptist sought a temporary

  restraining order, which the district court initially denied, and a preliminary injunction pending

  appeal, which the Sixth Circuit granted in part. Specifically, the Sixth Circuit enjoined Governor

  Beshear “and all other Commonwealth officials . . . from enforcing orders prohibiting drive-in

                                                  1
Case 3:20-cv-00278-DJH-RSE Document 87 Filed 06/16/22 Page 2 of 10 PageID #: 1083




  services at the Maryville Baptist Church if the Church, its ministers, and its congregants adhere to

  the public health requirements mandated for ‘life-sustaining’ entities.” (DN 26, at PageID # 393).

  The district court subsequently granted Maryville Baptist’s renewed motion for preliminary

  injunction “as to in-person services” so long as the church adhered to the same public health

  requirements. (DN 35, at PageID # 580).

          On May 8, 2020, the same day the district court issued its injunction, Governor Beshear

  issued public health requirements for churches to safely resume in-person services by May 20,

  2020. The next day, on May 9, 2020, Governor Beshear issued an amended order lifting the

  prohibition on in-person religious services.1 (DN 36-1). On May 12, 2020, Governor Beshear filed

  an amended motion to dismiss,2 stressing that Maryville Baptist’s claims had become moot due to

  the May 9, 2020 order. (DN 38). Governor Beshear later moved to dissolve the preliminary

  injunction and the injunction pending appeal, submitting that the U.S. Supreme Court “issued

  intervening law clarifying that enjoining the mass gatherings order was improper.” (DN 46-1, at

  PageID # 661).

          Before the district court could rule on Governor Beshear’s motion, on October 19, 2020,

  the Sixth Circuit issued a per curiam opinion dismissing an appeal filed by Maryville Baptist for

  lack of jurisdiction and directing the district court to “consider in the first instance whether [the

  case had] become moot in light of the Governor’s new orders.” (DN 57-1, at PageID # 754).

  Following this directive, the district court denied without prejudice Governor Beshear’s renewed

  motion to dismiss and his motion to dissolve the injunctions and ordered briefing on the issue of

  mootness. (DN 58).



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   The mass gathering order was entirely rescinded on December 13, 2020. (DN 60-1).
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   Governor Beshear’s first motion to dismiss (DN 33) was denied as moot and the case was stayed pending resolution
  of Maryville Baptist’s appeal before the Sixth Circuit. (DN 55).

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Case 3:20-cv-00278-DJH-RSE Document 87 Filed 06/16/22 Page 3 of 10 PageID #: 1084




          After the parties briefed the mootness issue (DN 61; DN 61), and “[i]n light of the

  Kentucky Supreme Court’s decisions in Cameron v. Beshear, No. 2021-SC-0107-I, 2021 Ky.

  LEXIS 240 (Ky. Aug. 21, 2021), and Beshear v. Goodwood Brewing Co., No. 2021-SC-0126-I,

  2021 Ky. LEXIS 239 (Ky. Aug. 21, 2021), and the legislation addressed therein,” the district court

  dismissed the case as moot and ordered that it be stricken from the active docket on October 6,

  2021. (DN 68).3

          On December 14, 2021, Maryville Baptist submitted its motion for attorney’s fees and

  nontaxable expenses and simultaneously tendered a bill of costs. (DN 74; DN 75). Maryville

  Baptist contends that by virtue of the injunctive relief obtained, it is a “prevailing party” entitled

  to recover costs, attorney’s fees, and nontaxable expenses under 42 U.S.C. § 1988. (DN 74, at

  PageID # 932). Governor Beshear opposes the motion for fees, arguing Maryville Baptist is not a

  prevailing party because the preliminary injunctions did not provide the church material, enduring,

  and irrevocable relief. (DN 80, at PageID # 1042). Alternatively, Governor Beshear requests that

  the Court substantially reduce the amount requested if it finds Maryville Baptist is entitled to

  recover fees. (Id. at PageID # 1044). Maryville Baptist replied, reiterating its position that it is a

  prevailing party and reasoning it is entitled to recover fees for all its attorneys’ work on the case,

  both before and after the injunctions were entered. (DN 85, at PageID # 1071, 1075).

                                              II. Conclusions of Law

                                                A. Attorney’s Fees

          In general, a prevailing party is not entitled to attorney’s fees “absent explicit statutory

  authority.” McQueary v. Conway, 614 F.3d 591, 597 (6th Cir. 2010) (citing Buckhannon Bd. &




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    Before the district court ruled on the mootness issue, Maryville Baptist filed a motion to lift the stay previously
  issued on October 5, 2020 pending resolution of its appeal. (DN 65).

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Case 3:20-cv-00278-DJH-RSE Document 87 Filed 06/16/22 Page 4 of 10 PageID #: 1085




  Care Home v. W. Va. Dep't of Health and Human Res., 532 U.S. 598, 602 (2001)). Congress has

  granted such authority in the context of Section 1983 civil rights cases under 42 U.S.C. § 1988:

         In any action or proceeding to enforce a provision of sections 1981, 1981a, 1982,
         1983, 1985, and 1986 of this title, title IX of Public Law 92-318, the Religious
         Freedom Restoration Act of 1993, the Religious Land Use and Institutionalized
         Persons Act of 2000, title VI of the Civil Rights Act of 1964, or section 12361 of
         Title 34, the court, in its discretion, may allow the prevailing party, other than the
         United States, a reasonable attorney’s fee as part of the costs[.]

  42 U.S.C. § 1988(b). When a plaintiff obtains preliminary injunctive relief before their case is

  dismissed as moot, courts in the Sixth Circuit “apply a case-specific inquiry” to determine whether

  the plaintiff is a “prevailing party,” and “look for a court-ordered, material, enduring change in the

  legal relationship between the parties.” Miller v. Caudill, 936 F.3d 442, 448 (6th Cir. 2019). Only

  in “rare instances” are “preliminary-injunction winners entitled to attorneys’ fees.” Miller v. Davis,

  267 F. Supp. 3d 961, 977 (E.D. Ky. 2017).

         Maryville Baptist argues the injunctive relief it obtained “effected a court-ordered change

  in the legal relationship between [it] and the Governor” but acknowledges such a change cannot

  have “stem[med] from the Governor’s voluntary modification of his conduct.” (DN 74, at PageID

  # 937). Maryville Baptist reasons that despite Governor Beshear’s amendment to the mass

  gathering order, “[t]he injunctions restrained the Governor; he did not restrain himself.” (Id. at

  PageID # 938).

         Governor Beshear asserts that an award of fees would be inappropriate here, as Maryville

  Baptist did not “prevail” on any of the claims set out in its complaint. (DN 80, at PageID # 1036).

  Governor Beshear further notes that Maryville Baptist’s preliminary relief did not “obviate [its]

  need for a permanent injunction or declaratory relief” and that its claims only became moot after

  Governor Beshear “voluntarily took action to work with faith leaders to allow in-person services

  to resume safely.” (Id. at PageID # 1040, 1044).

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Case 3:20-cv-00278-DJH-RSE Document 87 Filed 06/16/22 Page 5 of 10 PageID #: 1086




         Both parties rely on McQueary v. Conway in support of their respective positions. In

  McQueary, the Sixth Circuit considered “whether or when the winner of a preliminary injunction

  may be treated as a ‘prevailing party’ entitled to attorney’s fees.” 614 F.3d 591, 596 (6th Cir.

  2010). The court ultimately held that “when a claimant wins a preliminary injunction and nothing

  more, that usually will not suffice to obtain fees under § 1988” but remanded the case and directed

  the district court to determine in the first instance “when the occasional exceptions to that rule

  should apply” using a “contextual and case-specific inquiry[.]” Id. at 604. On remand, the district

  court performed such an inquiry and determined that an award of fees was inappropriate, and this

  time the Sixth Circuit affirmed. McQueary v. Conway, No. 06-CV-24-KKC, 2012 WL 3149344,

  at *3 (E.D. Ky. Aug. 1, 2012), aff’d, 508 F. App’x 522 (6th Cir. 2012).

         The facts of this case bear great similarity to that of McQueary, wherein the plaintiff

  charged that certain provisions of a house and senate bill signed into law by former Kentucky

  Governor Ernie Fletcher “infringed upon his right to protest at funerals under the First and

  Fourteenth Amendments to the Constitution and were facially unconstitutional.” Id. at *1. The

  district court granted the plaintiff’s motion for a preliminary injunction, and afterward the General

  Assembly removed the challenged provisions. The Court thus determined that the plaintiff’s claim

  for relief “became moot because the Defendant voluntarily repealed the challenged provisions”

  and not because the preliminary injunction “granted him all the relief he sought” or because his

  request for permanent relief was mooted “when a particular event occurred.” Id. at *2. The court

  further opined,

         [W]here a plaintiff is granted preliminary injunctive relief that enjoins the
         government from acting at a particular time and place, the preliminary relief
         becomes, in effect, permanent relief after the event occurs. After the passage of the
         event, the preliminary injunction can no longer be meaningfully revoked. In
         contrast, preliminary injunctive relief like that granted by the Court in this case that
         enjoins the defendant only while the case is pending is truly temporary and

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Case 3:20-cv-00278-DJH-RSE Document 87 Filed 06/16/22 Page 6 of 10 PageID #: 1087




          revocable. Such relief cannot confer prevailing-party status because it is not
          “‘enduring’ and irrevocable.” McQueary, 614 F.3d at 597 (citing Sole v. Wyner,
          551 U.S. 74, 86 (2007)). Section 1988 “requires lasting relief, not the temporary
          ‘fleeting success’” that an injunction effective only while the case is pending
          represents. Id. (citing Sole, 551 U.S. at 83).

  McQueary, 2012 WL 3149344, at *3.

          Such fleeting success is precisely the type Maryville Baptist accomplished here. When

  partially granting the injunctive relief Maryville Baptist sought, the Sixth Circuit explicitly limited

  it to “the pendency of this appeal” and limited its application to drive-in services so long as the

  church complied with public health requirements.4 And when the district court granted Maryville

  Baptist’s preliminary injunction and allowed in-person services to resume, it required the same

  compliance with the state’s public health directives. More importantly, this relief could have been

  revoked later in the life of the case or upon its final disposition. See Gooch v. Life Invs. Ins. Co. of

  Am., 672 F.3d 402, 414 (6th Cir. 2012) (“The power to modify or dissolve injunctions springs from

  the court’s authority to relieve inequities that arise after the original order. . . . Where significant

  changes in the law or circumstances threaten to convert a previously proper injunction into an

  instrument of wrong, the law recognizes that judicial intervention may be necessary to prevent

  inequities.”) (internal citations and quotation marks omitted). In arguing the case was not moot,

  Maryville Baptist acknowledged as much, offering that “absent a permanent injunction, the

  challenged policies can be reinstituted at any time.” (DN 61, at PageID # 784).

          Maryville Baptist argues its case is unlike McQueary because it obtained a “concrete right

  to assemble for certain, scheduled worship, every Sunday, as soon as possible[.]” (DN 74, at

  PageID # 942). But church services recur indefinitely, and the fact that they are set at fixed


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   Along those lines, when considering the proper course of action in McQueary, the Sixth Circuit reiterated its prior
  holding in Dubuc v. Green Oak Township, 312 F.3d 736 (6th Cir. 2002): “Because the injunction was not a ‘clear
  victory’ for the claimant and was issued only in connection with several ‘conditions’ imposed on the claimant, Dubuc
  upheld the district court’s denial of fees.” McQueary, 614 F.3d at 598 (citing Dubuc, 312 F.3d at 754).

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Case 3:20-cv-00278-DJH-RSE Document 87 Filed 06/16/22 Page 7 of 10 PageID #: 1088




  intervals does not liken them to the type of specific or singular events the Sixth Circuit had in mind

  in McQueary. Just like in McQueary, where “the Plaintiff did not seek a preliminary injunction

  that would permit him to protest at a specific funeral or at a specific time and place,” Maryville

  Baptist admits it did not seek injunctive relief that would permit a specific church service. Rather,

  the church sought and received emergency relief to continue its regular services for an indefinite

  period. The fact that Maryville Baptist “enjoyed 40 consecutive Sunday[]” services, (see DN 74,

  at PageID # 936), before its claims were deemed moot does not render each of those services

  “specific events” as contemplated in McQueary. To hold otherwise would render meaningless the

  distinction between temporary and “enduring and irrevocable” relief set out by the Sixth Circuit.

         Maryville Baptist suggests “[t]he specific, spiritual benefit [the church] and each of [its]

  congregants received from gathering for each unique, weekly Sunday worship service can never

  be undone, whether by the enactment of legislation, dissolution of the Injunctions, or dismissal of

  the case, or by any other event or circumstance.” (DN 74, at PageID # 940). The personal benefits

  Maryville Baptist and its congregants received from these services may endure no matter the

  outcome of the case, but that is not at issue here. In support of its position that “each completed

  worship service is of immeasurably enduring benefit,” the church cites to the Sixth Circuit’s charge

  that “the federal courts are not to judge[] how individuals comply with their own faith as they see

  it.” (Id. at PageID # 941 (quoting DN 26, at PageID # 291)). In the same way, the Court cannot

  consider the subjective “spiritual benefit” of Maryville Baptist or its congregants in determining

  whether their injunctive relief was material, enduring, or irrevocable. The church’s preliminary

  relief did not, in effect, become permanent at the completion of each Sunday’s service. Maryville

  Baptist’s relief—the ability to regularly hold services though the pendency of this lawsuit—could

  still be meaningfully revoked no matter how many services had already occurred.



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Case 3:20-cv-00278-DJH-RSE Document 87 Filed 06/16/22 Page 8 of 10 PageID #: 1089




         And such relief may have been revoked had the case not become moot and been dismissed.

  On May 29, 2020, nearly three weeks after Governor Beshear amended the mass gathering order,

  the U.S. Supreme Court denied a church’s application for injunctive relief from a similar executive

  order issued by California Governor Gavin Newsom. See South Bay United Pentecostal Church v.

  Newsom, 140 S. Ct. 1613 (2020). In his concurrence, Chief Justice Roberts opined that the

  restrictions placed on religious bodies “appear[ed] consistent with the Free Exercise Clause of the

  First Amendment” and that “[s]imilar or more severe restrictions apply to comparable secular

  gatherings . . . where large groups of people gather in close proximity for extended periods of

  time.” South Bay, 140 S. Ct. 1613 (2020) (Roberts, J., concurring). Justice Roberts further noted

  that “the Order exempts or treats more leniently only dissimilar activities, such as operating

  grocery stores, banks, and laundromats, in which people neither congregate in large groups nor

  remain in close proximity for extended periods.” Id. Relying on South Bay, Governor Beshear

  moved to dissolve the injunctions (DN 46), which the Court denied without prejudice in light of

  the broader issue of mootness.

         Moreover, although this lawsuit and others like it may have catalyzed Governor Beshear’s

  amendment to the mass gathering order, the Supreme Court has rejected such a “catalyst theory”

  for awarding fees. See Buckhannon Bd. & Care Home v. W. Va. Dep’t of Health and Human Res.,

  532 U.S. 598, 601–02 (2001) (“The ‘catalyst theory,’ however, allows an award where there is no

  judicially sanctioned change in the parties’ legal relationship.”). Indeed, “[a] defendant’s voluntary

  change, even one precipitated by litigation, does not amount to ‘a court-ordered change in the legal

  relationship’ between the plaintiff and defendant, as required to establish prevailing-party status.”

  McQueary, 614 F.3d at 597 (citing Buckhannon, 532 U.S. at 604).




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Case 3:20-cv-00278-DJH-RSE Document 87 Filed 06/16/22 Page 9 of 10 PageID #: 1090




             In sum, Maryville Baptist’s is not one of those rare cases where a preliminary injunction

  winner is entitled to recover its attorney’s fees. Maryville Baptist is not a “prevailing party”

  because it did not receive material, enduring, and irrevocable relief by virtue of the injunctions

  issued in this case.5 For these reasons, the Court recommends Maryville Baptist’s request for

  attorney’s fees and nontaxable expenses (DN 74) be denied.

                                                         B. Costs

             Fed. R. Civ. P. 54(d)(1) dictates that “[u]nless a federal statute, these rules, or a court order

  provides otherwise, costs—other than attorney’s fees—should be allowed to the prevailing party.”

  “This rule ‘creates a presumption in favor of awarding costs, but allows denial of costs at the

  discretion of the trial court.’” Al Maqablh v. Heinz, No. 3:16-CV-289-JHM, 2019 WL 3842394,

  at *2 (W.D. Ky. Aug. 14, 2019) (quoting Singleton v. Smith, 241 F.3d 534, 539 (6th Cir. 2001)).

  As discussed above, Maryville Baptist is not the prevailing party in this case. To require Governor

  Beshear to pay the taxable expenses outlined in its bill of costs (DN 75) would therefore not be

  appropriate.

                                                 III. Recommendation

             Based on the foregoing, it is RECOMMENDED that Plaintiffs Maryville Baptist Church,

  Inc. and Dr. Jack Roberts’ motion for attorney’s fees and nontaxable expenses (DN 74) be

  DENIED, and that Plaintiffs be responsible for their bill of costs (DN 75).




                                                                                    June 16, 2022




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      Because the Court recommends denial of fees, it did not undertake to determine their reasonability.

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Case 3:20-cv-00278-DJH-RSE Document 87 Filed 06/16/22 Page 10 of 10 PageID #: 1091




                                              NOTICE

  Therefore, under the provisions of 28 U.S.C. § 636(b)(1)(B) and (C) and Fed. R. Civ. P. 72(b), the
  Magistrate Judge files these findings and recommendations with the Court and a copy shall
  forthwith be electronically transmitted or mailed to all parties. Within fourteen (14) days after
  being served with a copy, any party may serve and file written objections to such findings and
  recommendations as provided by the Court. If a party has objections, such objections must be
  timely filed or further appeal is waived. Thomas v. Arn, 728 F.2d 813 (6th Cir.), aff’d, 474 U.S.
  140 (1984).


  Copies:        Counsel of Record




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